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AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the
                                                       WesternDistrict
                                                   __________  Districtofof__________
                                                                            Texas

                    RICHARD LOWERY                                   )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 1:23-CV-00129-DAE
                   LILLIAN MILLS ET AL.                              )
                            Defendant                                )

                                             JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

’ the plaintiff (name)                                                                                         recover from the
defendant (name)                                                                                                  the amount of
                                                                            dollars ($               ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of             % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other:
’

                                                                                                                                     .

This action was (check one):

’ tried by a jury with Judge                                                                          presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge David A. Ezra                                                               on a motion for

                                                                                                                                     .

Date:            10/02/2024                                                 CLERK OF COURT



                                                                                          Signature of Clerk or Deputy Clerk
